                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  Nashville Division

 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,

                Plaintiffs,                       Civil No. 3:23-cv-00376

 and                                              Judge Richardson

 UNITED STATES OF AMERICA,                        Judge Newbern

                Plaintiff-Intervenor,

        v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,

                Defendants.



NOTICE OF WITHDRAWAL OF PLAINTIFFS’ UNOPPOSED MOTION TO (I) STRIKE
 THE UNREDACTED DECLARATION OF DAVID BETHEA, ESQ. IN SUPPORT OF
PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
 AT ECF NO. 145; (II) PUBLICLY FILE A REDACTED VERSION OF THE BETHEA
   DECLARATION; AND (III) FILE UNDER SEAL PORTIONS OF THE BETHEA
           DECLARATION AND EXHIBITS ATTACHED THERETO

       On June 7, 2023, Plaintiffs filed their motion to strike the unredacted Declaration of David

Bethea, Esq., file a redacted version of the same, and file portions of the Declaration of David

Bethea and Exhibits A-C thereto under seal [ECF No. 154] (the “Motion”), and on June 16, 2023,

the Court issued an order related thereto [ECF No. 160]. Subsequently, the information contained

in the documents Plaintiffs sought to seal became public. Plaintiffs therefore file this Notice to

inform the Court that they hereby withdraw the Motion.




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Dated: June 20, 2023                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2023, the undersigned filed the foregoing motion to seal
via this Court’s electronic filing system, which sent notice of such filing to the following counsel
of record:

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